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                      UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                                                           PLACEHOLDER FOR
                                                                      EXHIBIT 3 TO AFFIDAVIT
                                                                     OF BLAIR A. HARRINGTON
Peerless Indemnity Insurance Company,
                              Plaintiff(s)
v.                                                         Case Number: 15-04112 (ADM-LIB)
Sushi Avenue, Inc.
                              Defendant(s)

This document is a place holder for the following item(s) which are filed in conventional or
physical form with the Clerk's Office:

        Exhibit 3 of Affidavit of Blair A. Harrington – an email from Nicole Roy to Dawn
        Mathison dated September 3, 2014, identified as P-SA001745-6.

If you are a participant in this case, this filing will be served upon you in conventional format.

This filing was not e-filed for the following reason(s):

☐ Voluminous Document* (Document number of order granting leave to file conventionally: Enter
Doc. #)

☐ Unable to Scan Documents (e.g., PDF file size of one page larger than 15MB, illegible when scanned)

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☒ Item Under Seal pursuant to a court order* (Document number of protective order: Doc. No. 18)

☐ Item Under Seal pursuant to the Fed. R. Civ. P. 5.2 and Fed. R. Crim. P. 49.1
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* Filing of these items requires Judicial Approval.

E-file this place holder in ECF in place of the documents filed conventionally. File a copy of this
Placeholder and a copy of the NEF with the Clerk's Office along with the conventionally filed item(s).




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